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 5
     Attorney for Defendant
     MANUEL HERRERA
 6
                            IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF CALIFORNIA
 7

 8

     UNITED STATES OF AMERICA,                      )       No. CR-S-11-296-WBS
 9
                                                    )
                                                    )
10          Plaintiff,                              )       STIPULATION AND [PROPOSED]
                                                    )       ORDER CONTINUING JUDGMENT
11
     v.                                             )       SENTENCING
                                                    )
12
     MANUEL HERRERA,                                )
                                                    )       Date: August 6, 2018
13   SANDRA HERMOSILLO,                             )       Time: 9:00 a.m.
     MOCTEZUMA TOVAR, and                           )       Judge: WILLIAM B. SHUBB
14
     JUN MICAHEL DIRAIN,                            )
                                                    )
15
                                                    )
            Defendant.
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19
            The parties hereby stipulate the following:
20
            1. Judgment and sentencing in this matter is presently set for May 14, 2018. Counsel
21
                for the parties request the date for judgment and sentencing be continued to
22
                August 6, 2018 at 9:00 a.m. Assistant U.S. Attorney Brian A. Fogerty has been
23
                advised of this request and has no objection. U.S. Probation has also been advised of
24
                this request. Defendants Herrera, Tovar, Dirain, and Hermosillo have agreed to
25
                cooperate with the government. The parties request the Court adopt the following
26
                schedule pertaining to the presentence report:
27
                Judgment and Sentencing date:                                     8/6/18 at 9:00 a.m.
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              Reply, or Statement of Non-Opposition:                        7/30/18
 1

 2            Motion for Correction of the Presentence Report
              Shall be filed with the Court and served on the
 3            Probation Officer and opposing counsel no later than:         7/23/18
 4
              The Presentence Report shall be filed with the Court
 5            And disclosed to counsel no later than:                       7/16/18

 6            Counsel’s written objections to the Presentence Report
 7
              Shall be delivered to the probation officer and opposing
              Counsel no later than:                                        7/9/18
 8
              The Presentence Report shall be filed with the Court
 9            And disclosed to counsel no later than:                       6/25/18
10

11
        IT IS SO STIPULATED.

12   Dated: May 3, 2018                                       /s/ John R. Manning
                                                              JOHN R. MANNING
13
                                                              Attorney for Defendant
14                                                            Manuel Herrera

15   Dated: May 3, 2018                                       /s/ Thomas A. Johnson
                                                              THOMAS A. JOHNSON
16
                                                              Attorney for Defendant
17                                                            Moctezuma Tovar

18   Dated: May 3, 2018                                       /s/ Erin J. Radekin
                                                              ERIN J. RADEKIN
19
                                                              Attorney for Defendant
20                                                            Sandra Hermosillo

21   Dated: May 3, 2018                                       /s/ Timothy Zindel
                                                              TIMOTHY ZINDEL
22
                                                              Attorney for Defendant
23                                                            Jun Michael Dirain

24   Dated: May 3, 2018                                       McGregor W. Scott
                                                              United States Attorney
25

26                                                     by:    /s/ Brian A. Fogerty
                                                              BRIAN A. FOGERTY
27                                                            Assistant U.S. Attorney
28




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 2

 3                                     ORDER
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           IT IS SO FOUND AND ORDERED.
 5
     Dated: May 7, 2018
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